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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


ESOTERIX GENETIC LABORATORIES
LLC,

       Plaintiff/Counterclaim-Defendant,
                                                    CASE No. 14-CV-13228-ADB
and LABORATORY CORPORATION OF
AMERICA HOLDINGS,

       Counterclaim-Defendant

                   v.

QIAGEN INC. and QIAGEN MANCHESTER,
LTD.,

       Defendants/Counterclaim-Plaintiffs.



   QIAGEN MANCHESTER LTD. AND QIAGEN INC.’S ANSWER, AFFIRMATIVE
   DEFENSES & COUNTERCLAIMS TO PLAINTIFF’S AMENDED COMPLAINT

       Defendants and Counterclaim-Plaintiffs QIAGEN Manchester, Ltd. and QIAGEN Inc.

(collectively, “QIAGEN”) submit their Answer, Affirmative Defenses, and Counterclaims in

response to the Amended Complaint of Plaintiff Esoterix Genetic Laboratories LLC (“EGL”).

                                             ANSWER

                                   NATURE OF THE ACTION

              1.         QIAGEN admits only that this action was styled as one for patent

infringement, violation of the Massachusetts Unfair and Deceptive Trade Practices Act, breach

of contract, and breach of the covenant of good faith and fair dealing. QIAGEN denies all

remaining allegations.

                                          THE PARTIES

              2.         QIAGEN is without knowledge or information sufficient to form a belief

as to the truth of the allegations in paragraph 2 of the Amended Complaint, and therefore denies
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such allegations, except it is admitted upon information and belief that EGL’s alleged parent,

Laboratory Corporation of America Holdings, has offices at 358 South Main Street, Burlington,

North Carolina.

               3.      QIAGEN N.V. is no longer a party to this action, (Dkt. No. 25), so there is

no obligation to answer this allegation.

               4.      QIAGEN GmbH is no longer a party to this action, (Dkt. No. 25), so there

is no obligation to answer this allegation.

               5.      QIAGEN GmbH is no longer a party to this action, (Dkt. No. 25), so there

is no obligation to answer this allegation.

               6.      QIAGEN North American Holdings, Inc. is no longer a party to this

action, (Dkt. No. 25), so there is no obligation to answer this allegation.

               7.      QIAGEN North American Holdings, Inc. is no longer a party to this

action, (Dkt. No. 25), so therefore there is no obligation to answer this allegation.

               8.      QIAGEN North American Holdings, Inc. is no longer a party to this

action, (Dkt. No. 25), so therefore there is no obligation to answer this allegation.

               9.      Admitted.

               10.     Admitted.

               11.     Denied.

               12.     Admitted.

               13.     Denied.

               14.     Denied.




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                     JURISDICTION, VENUE AND GOVERNING LAW

               15.       QIAGEN admits only that the quote is in paragraph 10(g) of the 2008

license agreement currently between EGL and QIAGEN Manchester (the “License Agreement”).

To the extent there are other allegations, they are denied.

               16.       Admitted.

               17.       Plaintiff’s conclusions regarding venue and jurisdiction are legal

conclusions to which no response is required. Defendants deny the remaining averments.

                                            THE FACTS

               18.       QIAGEN admits that there is a document titled “License Agreement”

between non-party Genzyme Corporation and non-party DxS from 2008. QIAGEN refers to that

document and denies all remaining allegations.

               19.       QIAGEN admits that certain EGFR mutations are predictive of the

efficacy of certain chemotherapeutic treatments for lung cancer and other diseases.

               20.       QIAGEN admits only that to the extent there are any rights or obligations

under the License Agreement, they were assumed by QIAGEN Manchester, and denies all

remaining allegations.

               21.       QIAGEN is without knowledge or information sufficient to form a belief

as to the truth of the allegations in paragraph 21 of the Amended Complaint, and therefore denies

such allegations.

               22.       QIAGEN is without knowledge or information sufficient to form a belief

as to the truth of the allegations in paragraph 22 of the Amended Complaint, and therefore denies

such allegations.




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               23.     QIAGEN is without knowledge or information sufficient to form a belief

as to the truth of the allegations in paragraph 23 of the Amended Complaint, and therefore denies

such allegations.

               24.     These allegations contain legal conclusions to which no response is

required. To the extent the allegations purport to be factual, QIAGEN is without knowledge or

information sufficient to form a belief as to the truth of the allegations, and therefore denies such

allegations.

               25.     QIAGEN admits only that the License Agreement purports to grant a non-

exclusive sublicense to the Patent Rights, and denies all remaining allegations.

               26.     Denied.

               27.     QIAGEN admits only that the quoted language appears in the License

Agreement, but QIAGEN refers to the document itself and denies any averment about it.

               28.     QIAGEN admits only that the quoted language appears in the License

Agreement, but QIAGEN refers to the document itself and denies any averment about it.

               29.     QIAGEN denies the allegation and refers to Section 1.9 of the License

Agreement.

               30.     Denied.

               31.     QIAGEN denies the allegation and edited quotation, and refers to Section

2.1 of the License Agreement.

               32.     Denied.

               33.     Denied.

               34.     QIAGEN admits only that QIAGEN paid royalties to EGL and its

predecessors during the term of the License Agreement, and denies all remaining allegations.




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                35.     Denied.

                36.     Denied.

                37.     QIAGEN admits only that it obtained a regulatory approval for its EGFR

test kit in July 2013, and denies all remaining allegations.

                38.     Denied.

                39.     Denied.

                40.     QIAGEN admits only that a very small percentage of its Test Kits were

sold to third parties located in Massachusetts, and denies all remaining allegations.

                41.     QIAGEN admits only that QIAGEN has communicated with EGL and

LabCorp regarding the License Agreement, and denies all remaining allegations.

                42.     Admitted.

                43.     Denied.

                44.     Denied.

                                             COUNT I

                                    PATENT INFRINGEMENT

                45.     QIAGEN incorporates by reference its responses to paragraphs 1 through

44 as if fully set forth herein.

                46.     In light of the Court’s September 25, 2015 Memorandum and Order

dismissing EGL’s claims for patent infringement, QIAGEN need not respond to this allegation.

                47.     In light of the Court’s September 25, 2015 Memorandum and Order

dismissing EGL’s claims for patent infringement, QIAGEN need not respond to this allegation.

                48.     In light of the Court’s September 25, 2015 Memorandum and Order

dismissing EGL’s claims for patent infringement, QIAGEN need not respond to this allegation.




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                49.     In light of the Court’s September 25, 2015 Memorandum and Order

dismissing EGL’s claims for patent infringement, QIAGEN need not respond to this allegation.

                50.     In light of the Court’s September 25, 2015 Memorandum and Order

dismissing EGL’s claims for patent infringement, QIAGEN need not respond to this allegation.

                51.     In light of the Court’s September 25, 2015 Memorandum and Order

dismissing EGL’s claims for patent infringement, QIAGEN need not respond to this allegation.

                52.     In light of the Court’s September 25, 2015 Memorandum and Order

dismissing EGL’s claims for patent infringement, QIAGEN need not respond to this allegation.

                53.     In light of the Court’s September 25, 2015 Memorandum and Order

dismissing EGL’s claims for patent infringement, QIAGEN need not respond to this allegation.

                54.     In light of the Court’s September 25, 2015 Memorandum and Order

dismissing EGL’s claims for patent infringement, QIAGEN need not respond to this allegation.

                55.     In light of the Court’s September 25, 2015 Memorandum and Order

dismissing EGL’s claims for patent infringement, QIAGEN need not respond to this allegation.

                56.     In light of the Court’s September 25, 2015 Memorandum and Order

dismissing EGL’s claims for patent infringement, QIAGEN need not respond to this allegation.

                57.     In light of the Court’s September 25, 2015 Memorandum and Order

dismissing EGL’s claims for patent infringement, QIAGEN need not respond to this allegation.

                58.     In light of the Court’s September 25, 2015 Memorandum and Order

dismissing EGL’s claims for patent infringement, QIAGEN need not respond to this allegation.

                                           COUNT II

         VIOLATION OF MASSACHUSETTS GENERAL LAWS CHAPTER 93A

                59.     QIAGEN incorporates by reference its responses to paragraphs 1 through

58 as if fully set forth herein.


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                60.     Admitted.

                61.     Denied.

                62.     Denied.

                63.     Denied.

                64.     Denied.

                65.     Denied.

                66.     Denied.

                67.     Denied.

                68.     Denied.

                69.     Denied.

                70.     Denied.

                71.     Denied.

                72.     Denied.

                                           COUNT III

                                    BREACH OF CONTRACT

                73.     QIAGEN incorporates by reference its responses to paragraphs 1 through

72 as if fully set forth herein.

                74.     Denied.

                75.     Denied.

                76.     Denied.

                77.     Denied.

                78.     Denied.




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                                           COUNT IV

            BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

                79.     QIAGEN incorporates by reference its responses to paragraphs 1 through

78 as if fully set forth herein.

                80.     Denied.

                81.     Denied.

                82.     Denied.

                83.     Denied.

                84.     Denied.

                85.     Denied.

                86.     Denied.

                87.     Denied.

                88.     Denied.

                89.     Denied.

                90.     Denied.

                91.     Denied.

                QIAGEN denies that EGL is entitled to any of the relief requested, and/or any

other relief.




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                                        GENERAL DENIAL

                Pursuant to Rule 8(b)(3) of the Federal Rules of Civil Procedure, QIAGEN denies

each and every allegation in the Complaint that it has not expressly admitted, specifically

answered, or responded to herein.

                                   AFFIRMATIVE DEFENSES

                Without conceding the burden of proof, Defendants raise the following

affirmative defenses:

                               FIRST AFFIRMATIVE DEFENSE

                EGL’s Amended Complaint fails to state a claim on which relief can be granted.

                              SECOND AFFIRMATIVE DEFENSE

                EGL’s claims are barred in whole or in part by estoppel or laches.

                               THIRD AFFIRMATIVE DEFENSE

                EGL’s claims are barred in whole or in part by the doctrine of unclean hands.

                              FOURTH AFFIRMATIVE DEFENSE

                EGL’s claims and claims for damages are barred in whole or in part by Section

10.1(c) of the License Agreement.

                               FIFTH AFFIRMATIVE DEFENSE

                EGL’s claims are barred in whole or in part for patent misuse.

                               SIXTH AFFIRMATIVE DEFENSE

                EGL’s claims are barred because they seek to enforce, or rely on, contract

provisions that, without a valid patent, improperly restrain commerce or otherwise provide EGL

with greater rights that it is entitled to under the federal patent laws.

                             SEVENTH AFFIRMATIVE DEFENSE

                EGL’s claim under MGL chapter 93A is barred because the conduct alleged to



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violate the statute did not occur “primarily and substantially” in the Commonwealth of

Massachusetts.

                             EIGHTH AFFIRMATIVE DEFENSE

               EGL’s claims are barred in whole or in part because there is no liability as alleged

by EGL because QIAGEN’s EGFR test kits do not, but for the License Agreement, infringe a

valid claim of a licensed patent.



                    QIAGEN MANCHESTER, LTD. AND QIAGEN INC.’S
                               COUNTERCLAIMS

               QIAGEN, for its counterclaims against EGL and Counterclaim-Defendant

Laboratory Corporation of America Holdings (“LabCorp”), states and alleges as follows:

                                    NATURE OF THE ACTION

               1.      QIAGEN seeks a declaratory judgment of invalidity and non-infringement

for U.S. Patent Nos. 7,964,349 (“the ’349 patent”), 8,105,769 (“the ’769 patent”), 8,465,916

(“the ’916 patent”), and 9,035,036 (“the ’036 patent”).

               2.      In addition, QIAGEN is due restitution for the royalties it paid under

protest since QIAGEN first notified EGL that the ’468 patent and the other licensed U.S. patents

are not valid under U.S. patent law.

               3.      Finally, QIAGEN seeks relief from LabCorp and EGL for their improper

communications with QIAGEN’s customers, which intentionally and improperly interfered with

QIAGEN’s existing and prospective relations with its customers.

                                            PARTIES

               4.      QIAGEN Manchester Ltd. is an English company having its principal

place of business at Skelton House, Lloyd Street North, Manchester, United Kingdom.



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                5.     QIAGEN Inc. is organized under the laws of California with its principal

place of business in Germantown, Maryland.

                6.     Upon information and belief, EGL is organized under the laws of

Delaware, with its principal place of business at 3400 Computer Drive, Westborough, MA

01581.

                7.     In its complaint against QIAGEN, EGL alleges, and therefore QIAGEN

alleges herein upon information and belief, that EGL is a wholly-owned subsidiary of LabCorp, a

corporation organized under the laws of the State of Delaware with its principal place of business

at 358 South Main Street, Burlington, North Carolina. (EGL and LabCorp are collectively

referred to as the “Counterclaim Defendants.”)

                                JURISDICTION AND VENUE

                8.     This Court has subject matter jurisdiction over QIAGEN’s counterclaims

pursuant to 28 U.S.C. §§ 1331, 1332(a), 1338(a), and 1367, and the Declaratory Judgment Act,

28 U.S.C. §§ 2201 and 2202. The amount in controversy for QIAGEN’s counterclaims exceeds

$75,000, exclusive of interest and costs.

                9.     Personal jurisdiction exists over the Counterclaim Defendants, and venue

is proper and convenient.

                                 GENERAL ALLEGATIONS

                10.    Upon information and belief, the General Hospital Corporation (“GHC”)

and the Dana-Farber Cancer Institute, Inc. (“DFCI”) are co-owners by assignment of the ’468,

’349, ’769, ’916, and ’036 patents.

                11.    Upon information and belief, GHC and DFCI granted an exclusive license

to EGL’s predecessor Genzyme that includes rights to the ’468, ’349, ’769, ’916, and ’036

patents.


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                12.     EGL has alleged and represented to the Court that it has “all right, title and

interest” in the ’468 patent and its “related” patents, including upon information and belief, the

’349, ’769, ’916, and ’036 patents that are “related” because they claim priority to the application

that issued as the ’468 patent. Thus, upon information and belief and based on EGL’s allegations

and representations, EGL has “all right, title and interest” to the ’349, ’769, ’916, and ’036

patents.

                13.     In 2008, EGL’s predecessor entered into the License Agreement with

QIAGEN’s predecessor. The License Agreement purports to grant rights to QIAGEN in the

’468, ’349, ’769, ’916, and ’036 patents (collectively “the licensed patents”) to manufacture and

sell Epidermal Growth Factor Receptor mutation testing kits (“EGFR test kits”) that were

covered by the licensed patents.

                14.     Under the License Agreement, QIAGEN is only required to pay royalties

for sales of its EGFR test kits that but for the License Agreement “cannot be manufactured, used,

offered for sale or sold, in whole or in part, without infringing” a valid patent claim under one of

the licensed patents.

                15.     QIAGEN has provided notice to EGL that it believes that the ’468, ’349,

’769, ’916, and ’036 patents are invalid.

                16.     Although QIAGEN believes the licensed patents are invalid, QIAGEN has

continued to make royalty payments under the License Agreement under protest with the right to

recoup such royalty payments if and when a court agrees that the licensed patents are invalid.

                17.     In this action, EGL has alleged that QIAGEN has infringed the ’468

patent.




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               18.     In addition to the ’468 patent, EGL and LabCorp threatened QIAGEN’s

customers with patent infringement of at least the ’349 and ’769 patents.

               19.     There is an actual and justiciable case or controversy that exists between

QIAGEN and EGL regarding whether making, using, and selling QIAGEN’s EGFR test kits

infringe a valid claim of the ’349, ’769, ’916, and ’036 patents, and thus whether QIAGEN is

obligated to pay royalties on the sales of its EGFR test kits in the U.S.

           The Court Has Effectively Invalidated the ’349, ’769, and ’916 Patents

               20.     In a September 25, 2015 Memorandum and Order, this Court held that the

’468 patent is invalid as claiming an unpatentable natural law.

               21.     The issues of invalidity are legally identical as between the ’468 patent

and the ’349, ’769, and ’916 patents.

               22.     The issues determinative of the invalidity of the ’349, ’769, and ’916

patents were actually litigated in this action by the same parties and were decided by this Court’s

September 25, 2015 Memorandum and Order.

               23.     All such issues were necessary to the Court’s decision in this matter.

               24.     Because the issues of invalidity are identical, the Court’s September 25,

2015 Memorandum and Order, effectively invalidated not only the ’468 patent, but also the ’349,

’769, and ’916 patents.

             EGL and LabCorp Interfered with QIAGEN’s Customer Relations

               25.     In the License Agreement, EGL authorized QIAGEN to sell to customers

EGFR test kits that were covered by the licensed patents. EGL gave QIAGEN a license to sell

them for both clinical diagnostic purposes and research purposes.

               26.     The License Agreement covers only QIAGEN’s EGFR test kits that, but

for the License Agreement, would infringe any valid claim of any of the licensed patents.


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Neither EGL nor its predecessors provided any know-how, teachings or materials to QIAGEN or

its predecessors to help it build its kits. Rather, EGL simply provided a license to the licensed

patents—patents that QIAGEN herein alleges are patent ineligible under Section 101 of the U.S.

Patent Act.

               27.     During the course of the parties’ performance under the License

Agreement through 2013, LabCorp requested, and QIAGEN sold its EGFR test kits to LabCorp.

               28.     Upon information and belief, there came a time when EGL and LabCorp

viewed QIAGEN as a business threat.

               29.     Thus, Counterclaim Defendants EGL and LabCorp used improper means

to injure QIAGEN by, among other things, improperly threatening QIAGEN’s customers with

patent infringement of the licensed patents, to injure QIAGEN’s existing and prospective

contractual relations with its customers.

               30.     Specifically, upon information and belief, Counterclaim Defendants sent

letters (“Interference Letters”) to third parties that it knew had purchased EGFR test kits from

QIAGEN.

               31.     The Interference Letters listed the licensed patents, and stated that

“LabCorp has license rights to these patents as well as other pending U.S. patent applications.

Currently, LabCorp provides laboratory testing services under these patent rights, including

testing for clinical diagnostic use.” The Interference Letters told the recipient to review the

enclosed patents and to discuss with LabCorp. The Interference Letters intentionally and

improperly failed to mention that LabCorp knew that the recipient of the Interference Letter had

purchased its EGFR test kits from QIAGEN, or that LabCorp’s subsidiary EGL has licensed

such patents to QIAGEN.




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               32.     The Counterclaim Defendants continued to send such letters even after the

date of the FDA’s first approval of QIAGEN’s kits in July 2013, after which even EGL concedes

in its Amended Complaint that QIAGEN had full rights to sell the kits to customers for all

licensed uses. (QIAGEN contends that all of its sales before and after July 2013 were permitted

under the License Agreement.)

               33.     The Interference Letters were improper in motive or means in that they did

not mention QIAGEN’s license, and in that they were designed to deter third parties from doing

business with QIAGEN, in order to injure QIAGEN.

               34.     On information and belief, the Interference Letters interfered with

QIAGEN’s existing and prospective contracts for sales of EGFR test kits by inducing customers

to breach existing contracts with QIAGEN to purchase EGFR test kits or by causing such

customers not to make new purchases with QIAGEN in the future.

                          COUNT I
 DECLARATORY JUDGMENT ON CONTRACTUAL RIGHTS AND OBLIGATIONS
                 (QIAGEN Manchester against EGL)

               35.     QIAGEN repeats and incorporates the averments of the foregoing

paragraphs as if fully set forth herein.

               36.     There is an actual and justiciable case or controversy that exists between

QIAGEN Manchester and EGL concerning the rights and obligations of QIAGEN under the

terms of the License Agreement.

               37.     QIAGEN Manchester has provided notice to EGL that it believes that it

does not owe any royalties for any U.S. sales because the U.S. licensed patents (the ’468, ’349,

’769, ’916, and ’036 patents) are invalid.




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               38.     In a September 25, 2015 Memorandum and Order, this Court held that the

’468 patent is invalid as claiming an unpatentable natural law.

               39.     As per Counts II-V of QIAGEN’s counterclaims, QIAGEN Manchester is

seeking a declaratory judgment that the remaining U.S. licensed patents (the ’349, ’769, ’916,

and ’036 patents) are invalid.

               40.     As per Count VI of QIAGEN’s counterclaims, QIAGEN Manchester is

also seeking a declaratory judgment that QIAGEN’s EGFR test kits do not infringe the

remaining U.S. licensed patents (the ’349, ’769, ’916, and ’036 patents).

               41.     Thus, QIAGEN Manchester hereby seeks a declaratory judgment that it

owes no royalties on U.S. sales under the License Agreement.


                              COUNT II
         DECLARATORY JUDGMENT OF INVALIDITY OF THE ’349 PATENT
                     (QIAGEN Manchester against EGL)

               42.     QIAGEN repeats and incorporates the averments of the foregoing

paragraphs as if fully set forth herein.

               43.     An actual, substantial and continuing controversy exists between

QIAGEN Manchester and EGL as to whether the ’349 patent is invalid.

               44.     The ’349 patent is invalid for failing to comply with one or more of the

provisions of the United States Patent Action, 35 U.S.C. § 1 et seq., including but not limited to

35 U.S.C. §§ 101, 102, 103, and 112.

               45.     The issues determinative of whether the ’349 patent is invalid under 35

U.S.C. § 101 as claiming an unpatentable natural law were actually litigated in this action and

were effectively decided by this Court’s September 25, 2015 Memorandum and Order.




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               46.     Declaratory relief is both appropriate and necessary to establish that the

’349 patent is invalid, and thus QIAGEN Manchester is entitled to restitution of royalties paid

and does not owe future royalties under the License Agreement for U.S. sales, and to prevent the

assertion of the ’349 patent against QIAGEN or its customers in the future.

                              COUNT III
         DECLARATORY JUDGMENT OF INVALIDITY OF THE ’769 PATENT
                     (QIAGEN Manchester against EGL)

               47.     QIAGEN repeats and incorporates the averments of the foregoing

paragraphs as if fully set forth herein.

               48.     An actual, substantial and continuing controversy exists between

QIAGEN Manchester and EGL as to whether the ’769 patent is invalid.

               49.     The ’769 patent is invalid for failing to comply with one or more of the

provisions of the United States Patent Action, 35 U.S.C. § 1 et seq., including but not limited to

35 U.S.C. §§ 101, 102, 103, and 112.

               50.     The issues determinative of whether the ’769 patent is invalid under 35

U.S.C. § 101 as claiming an unpatentable natural law were actually litigated in this action and

were effectively decided by this Court’s September 25, 2015 Memorandum and Order.

               51.     Declaratory relief is both appropriate and necessary to establish that the

’769 patent is invalid, and thus QIAGEN Manchester is entitled to restitution of royalties paid

and does not owe future royalties under the License Agreement for U.S. sales, and to prevent the

assertion of the ’769 patent against QIAGEN or its customers in the future.




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                              COUNT IV
         DECLARATORY JUDGMENT OF INVALIDITY OF THE ’916 PATENT
                     (QIAGEN Manchester against EGL)

               52.     QIAGEN repeats and incorporates the averments of the foregoing

paragraphs as if fully set forth herein.

               53.     An actual, substantial and continuing controversy exists between

QIAGEN Manchester and EGL as to whether the ’916 patent is invalid.

               54.     The ’916 patent is invalid for failing to comply with one or more of the

provisions of the United States Patent Action, 35 U.S.C. § 1 et seq., including but not limited to

35 U.S.C. §§ 101, 102, 103, and 112.

               55.     The issues determinative of whether the ’916 patent is invalid under 35

U.S.C. § 101 as claiming an unpatentable natural law were actually litigated in this action and

were decided by this Court’s September 25, 2015 Memorandum and Order.

               56.     Declaratory relief is both appropriate and necessary to establish that the

’916 patent is invalid, and thus QIAGEN Manchester is entitled to restitution of royalties paid

and does not owe future royalties under the License Agreement for U.S. sales, and to prevent the

assertion of the ’916 patent against QIAGEN or its customers in the future.

                              COUNT V
         DECLARATORY JUDGMENT OF INVALIDITY OF THE ’036 PATENT
                     (QIAGEN Manchester against EGL)

               57.     QIAGEN repeats and incorporates the averments of the foregoing

paragraphs as if fully set forth herein.

               58.     An actual, substantial and continuing controversy exists between

QIAGEN Manchester and EGL as to whether the ’036 patent is invalid.




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                 59.    The ’036 patent is invalid for failing to comply with one or more of the

provisions of the United States Patent Action, 35 U.S.C. § 1 et seq., including but not limited to

35 U.S.C. §§ 101, 102, 103, and 112.

                 60.    Declaratory relief is both appropriate and necessary to establish that the

’036 patent is invalid and thus QIAGEN Manchester is entitled to restitution of royalties paid

and does not owe future royalties under the License Agreement for U.S. sales, and to prevent the

assertion of the ’036 patent against QIAGEN or its customers in the future.

                           COUNT VI
    DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE LICENSED
                           PATENTS
                      (QIAGEN against EGL)

                 61.    QIAGEN repeats and incorporates the averments of the foregoing

paragraphs as if fully set forth herein.

                 62.    An actual, substantial and continuing controversy exists between

QIAGEN and EGL concerning whether QIAGEN’s EGFR test kits infringe any valid claim of

the licensed patents.

                 63.    Even absent QIAGEN’s rights under the License Agreement, QIAGEN’s

EGFR test kits do not infringe, in whole or in part, either directly, indirectly, contributorily, or by

inducement, the claims of the remaining U.S. licensed patents (the ’349, ’769, ’916, and ’036

patents) either literally or under the doctrine of equivalents.

                 64.    Declaratory relief is both appropriate and necessary to establish that

QIAGEN’s EGFR kits do not infringe the licensed patents and thus QIAGEN is entitled to

restitution of royalties paid and does not owe future royalties under the License Agreement for

U.S. sales, and to prevent the assertion of the licensed patent against QIAGEN or its customers

in the future.



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                                      COUNT VII
                            RESTITUTION OF ROYALTIES PAID
                             (QIAGEN Manchester against EGL)

               65.     QIAGEN repeats and incorporates the averments of the foregoing

paragraphs as if fully set forth herein.

               66.     No later than October 31, 2014, via the filing of its motion to dismiss

EGL’s claim of infringement of the ’468 patent in this action, QIAGEN Manchester gave notice

to EGL that it believed the ’468 patent was invalid under section 101 of the U.S. Patent Act. This

notice also provided constructive notice of QIAGEN Manchester’s position as to the invalidity

under U.S. law of the ’349, ’769, and ’916 patents as well, as the claims of those patents are

functionally identical to those of the ’468 patent.

               67.     In subsequent communications, QIAGEN Manchester reiterated that it

believes that the ’468, ’349, ’769,’916, as well as the ’036 patent, are invalid and unenforceable

under U.S. law, and that it was making payment of its U.S. royalties under protest and objection.

               68.     In a September 25, 2015 Memorandum and Order, this Court held that the

’468 patent is invalid as claiming an unpatentable natural law.

               69.     The issues of invalidity are identical as between the ’468 patent and the

’349, ’769, and ’916 patents.

               70.     The issues determinative of the invalidity of the ’349, ’769, and ’916

patents were actually litigated in this action and were decided by this Court’s September 25,

2015 Memorandum and Order.

               71.     All such issues were necessary to the Court’s decision in this matter.




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               72.     Because the issues of invalidity are identical, the Court’s September 25,

2015 Memorandum and Order, effectively invalidated not only the ’468 patent, but also the ’349,

’769, and ’916 patents.

               73.     QIAGEN Manchester has also sought a declaratory judgment that the’036

patent is invalid and that the remaining U.S. licensed patents (the ’349, ’769, ’916, and’036

patents) are not infringed by QIAGEN’s EGFR test kits.

               74.     QIAGEN Manchester is entitled to recover its royalties paid for U.S. sales

of EGFR test kits from at least October 31, 2014.

                              COUNT VIII
       TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONSHIPS
                     (QIAGEN against LabCorp and EGL)

               75.     QIAGEN repeats and incorporates the averments of the foregoing

paragraphs as if fully set forth herein.

               76.     During the term of the License Agreement, customers had contracts and

ongoing business relationships with QIAGEN to purchase EGFR test kits.

               77.     Upon information and belief the Counterclaim Defendants knew of the

existence of such business relationships between QIAGEN and third parties to purchase EGFR

test kits. The Counterclaim Defendants further knew that QIAGEN reasonably expected to

continue to sell EGFR test kits to these same customers in the future.

               78.     The Counterclaim Defendants sent, or caused to be sent, the Interference

Letters to third parties to disrupt QIAGEN’s contractual relationships with its customers, and

intentionally induce those customers not to perform their obligations under the contracts.

               79.     The Counterclaim Defendants’ methods in contacting third parties were

improper in means or motive in light of its failure to note QIAGEN’s rights under the License




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Agreement, and the Counterclaim Defendants’ implication that customers were violating the

Patent Rights by using EGFR test kits from QIAGEN.

               80.     The Counterclaim Defendants’ failure to explain in the Interference

Letters that QIAGEN was licensed to sell the EGFR test kits at the time the Interference Letters

were sent constitutes improper means or motive as well as malicious behavior on the part of the

Counterclaim Defendants.

               81.     The Counterclaim Defendants wanton and malicious interference was

improper in means or motive as it was done to harm its competition and its licensee, QIAGEN,

and not for any legitimate business purpose.

               82.     QIAGEN has suffered damages as result of EGL’s action.

                             COUNT IX
  TORTIOUS INTERFERENCE WITH PROSPECTIVE BUSINESS RELATIONSHIPS
                   (QIAGEN against LabCorp and EGL)

               83.     QIAGEN repeats and incorporates the averments of the foregoing

paragraphs as if fully set forth herein.

               84.     During the term of the License Agreement, customers had purchased

EGFR test kits from QIAGEN.

               85.     The Counterclaim Defendants knew of the existence of QIAGEN’s sales

to third parties of EGFR test kits. The Counterclaim Defendants further knew that QIAGEN

reasonably expected to continue to sell EGFR test kits to these same customers in the future.

               86.     The Interference Letters were sent to third parties to disrupt QIAGEN’s

contractual relationships with its customers, and induce those customers to not engage in future

business with QIAGEN concerning the EGFR test kits.

               87.     The Counterclaim Defendants’ methods in contacting third parties were

improper in means or motive in light of its failure to note QIAGEN’s rights under the License


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Agreement, and the Counterclaim Defendants’ implication that customers would violate the

Patent Rights by using EGFR test kits from QIAGEN.

               88.    The Counterclaim Defendants’ failure to explain in the Interference

Letters that QIAGEN was licensed to sell the EGFR test kits at the time the Interference Letters

were sent constitutes improper means or motive as well as malicious behavior on the part of the

Counterclaim Defendants.

               89.    The Counterclaim Defendants wanton and malicious interference was

improper in means or motive as it was done to harm its competition and its licensee, QIAGEN,

not for any legitimate business purpose.

               90.    QIAGEN has suffered damages as result of EGL’s action.

                                    PRAYER FOR RELIEF

               WHEREFORE, Counterclaimant QIAGEN prays for the following relief:

                      (a)      A judgment declaring the ’349, ’769, ’916, and ’036 patents

       invalid.

                      (b)      A judgment declaring that QIAGEN’s EGFR test kits do not

       infringe the remaining U.S. licensed patents.

                      (c)      A judgment that EGL must make restitution to QIAGEN of all

       royalties paid under the License Agreement since at least October 31, 2014.

                      (d)      A judgment awarding other damages to QIAGEN.

                      (e)      A judgment awarding QIAGEN’s costs and attorney’s fees because

       this case is “exceptional” under 35 U.S.C. § 285 or to the extent allowed under applicable

       law.

                      (f)      A judgment awarding punitive damages to the extent allowed

       under applicable law.


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               (g)   An award to QIAGEN of such further relief as the Court deems

just and proper.




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                                JURY TRIAL DEMAND

             QIAGEN hereby demands a jury trial on all issues so triable both in EGL’s

Amended Complaint and in QIAGEN’s counterclaims.



Dated: October 23, 2015                   QIAGEN Inc. and QIAGEN Manchester, Ltd.,

                                          By their attorneys,

                                          SALLY & FITCH LLP

                                          /s/ Peter E. Ball
                                          Peter E. Ball (BBO #546031)
                                          Ryan M. Cunningham (BBO #661440)
                                          SALLY & FITCH LLP
                                          Tel. (617) 542-5542
                                          Fax. (617) 542-1542
                                          peb@sally-fitch.com
                                          rmc@sally-fitch.com

                                          Robert R. Baron (Admitted pro hac vice)
                                          Marc S. Segal (Admitted pro hac vice)
                                          BALLARD SPAHR LLP
                                          Tel. (215) 665-8500
                                          Fax (215) 864-8999
                                          baron@ballardspahr.com
                                          segalm@ballardspahr.com




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                                  CERTIFICATE OF SERVICE

       I hereby certify that I caused the foregoing document to be filed through the Court’s ECF

system and that it will be sent electronically to the registered participants as identified on the

Notice of Electronic Filing, and paper copies will be sent to those indicated as non-registered

participants on October 23, 2015.



                                               /s/ Peter E. Ball
                                               Peter E. Ball
